                            CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a copy of the foregoing

document on all parties and/or counsel of record by operation of the Court’s

electronic filing system.

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